              Entered on Docket June 15, 2021
                                                           Below is the Order of the Court.


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                                                            Christopher M. Alston
3                                                           U.S. Bankruptcy Judge
                                                            (Dated as of Entered on Docket date above)
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                                                                       Honorable Christopher M. Alston
10                                                                             June 18, 2021; 9:30 a.m.

11                     IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                         WESTERN DISTRICT OF WASHINGTON AT SEATTLE
12
     In re:                                           )   Chapter 7
13                                                    )   Bankruptcy No. 18-12299
     JASON L. WOEHLER,                                )
14                                                    )   ORDER AUTHORIZING PAYMENT OF
                      Debtor(s).                      )   ADMINISTRATIVE TAX EXPENSE
15                                                    )

16             THIS MATTER having come on regularly before the above-signed Judge of the above-

17   entitled Court, upon the Trustee’s Motion for an Order Authorizing Payment of Administrative Tax

18   Expense, the Court having reviewed the pleadings on file herein, and being fully apprised of the

19   circumstances, now, therefore, it is hereby

20             ORDERED that the trustee, Nancy L. James, may disburse an amount not to exceed $1,000

21   to the Internal Revenue Service to pay the estate’s administrative federal income tax liability.

22                                   //// END OF ORDER ////

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     ORDER AUTHORIZING PAYMENT OF                                            THE LIVESEY LAW FIRM
     ADMINISTRATIVE TAX EXPENSE                                              600 Stewart Street, Suite 1908
                                                                             Seattle, WA 98101
     210521cOrd Page 1                                                       (206) 441-0826
      Case 18-12299-CMA            Doc 218   Filed 06/15/21     Ent. 06/15/21 17:14:33           Pg. 1 of 2
                                                        Below is the Order of the Court.


1    Presented By:

2    THE LIVESEY LAW FIRM

3
            /S/ Rory C. Livesey
4
     Rory C. Livesey, WSBA #17601
5    Attorney for Nancy L. James, Trustee

6    The Livesey Law Firm
     600 Stewart Street, Suite 1908
7    Seattle, WA 98101
     (206) 441-0826
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     ORDER AUTHORIZING PAYMENT OF                                     THE LIVESEY LAW FIRM
     ADMINISTRATIVE TAX EXPENSE                                       600 Stewart Street, Suite 1908
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